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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,
            Plaintiff,

       vs.                                               No. 00-40104-01, 02-JTM

WILLIAM LEONARD PICKARD and
CLYDE APPERSON,
            Defendants.




                             MEMORANDUM AND ORDER


       This matter is before the court on the government’s Motion for Order (Dkt. 840),

which seeks a determination that the redacted version of the Skinner DEA file submitted

to the court on January 16, 2018 complies with the court’s original Order of disclosure

(Dkt. 801), as well as the more recent directives as to the scope of permissible redactions.

(Dkt. 832, 835, 839). The defendants argue the motion should not be granted for three

reasons. (Dkt. 841, at 1-2). First, defendants argue no action should be taken now because

of the stay previously entered by the court. Second, they argue the matter should not be

resolved prior to issuance of the mandate in the remaining appeals. And third, they

submit the court should defer a ruling because the case may be subject to alternative

resolution, either by additional negotiations between the parties or by a petition for relief

under the First Step Act.
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        The court finds none of the defendants’ proffered rationales support a delay on

ruling on the government’s motion. The court’s original Order of November 17, 2017

(Dkt. 803) stayed the unsealing of the Skinner Confidential Informant file, which was

physically received by the court on March 4, 2003 (Dkt. 283), and which is identified by

label as Government Exhibit 913. The court has subsequently recognized the continuing

effect of the stay (see e.g., Dkt. 839, at 2 (the court “reiterate[s] that the stay previously

entered remains in effect”), but it has never expanded it beyond the issue of whether to

unseal the entire, raw, unredacted document that is Exhibit 913. Nothing in the stay

prohibits the government from submitting a redacted version of the Skinner file, or

precludes the court from determining that the submission is consistent with the court’s

orders. Indeed, the court has already rejected defendants’ argument. In its order of

December 11, 2018, the court observed that while the 2017 stay “remains in effect,” (Dkt.

832 at 10), the court “has jurisdiction to determine whether the government is, or is not,

in compliance with its order of November 16, 2017” by submitting a redacted version of

the file. (Id. at 2).

        The same Order also rejects defendants’ contention that resolution of the issue of

compliance should await the resolution of their remaining appeals. (Id. at 2-3). To the

contrary, the court concluded that resolving the issue of compliance could assist in the

resolution of the appeals.

        Finally, an alternative resolution the case, through negotiation or application of

the First Step Act, is at present simply hypothetical, and supplies no reason for failing to

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resolve the government’s present motion. This is especially true where—beyond the

argument for delay—the defendants’ response (Dkt. 841) offers no substantive argument

on the merits against the proposed redactions beyond what they have already presented

to the court. Given the court’s express preference for the “[e]xpeditious resolution of the

government’s motion” as to compliance (Dkt. 832, at 2), the court finds the government’s

present motion can and should be granted at the present time.

       The court has reviewed the redacted informant file submitted by the government,

and finds that it complies with the orders of the court.

       IT IS ACCORDINGLY ORDERED this day of January, 2019 that the government’s

Motion for Order (Dkt. 840) is hereby granted.




                                          s/ J. Thomas Marten
                                          J. Thomas Marten, Judge




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